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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-61622-CIV-ZLOCH



  FRANK MANFRED,

             Plaintiff,

  vs.                                       FINAL ORDER OF DISMISSAL

  POLLACK & ROSEN, P.A.,

             Defendant.
                                     /

        THIS MATTER is before the Court upon the Joint Stipulation For

  Dismissal With Prejudice (DE 24), filed herein by Plaintiff, Frank

  Manfred, and Defendant, Pollack & Rosen, P.A.              The Court has

  carefully reviewed said Stipulation and the entire court file and

  is otherwise fully advised in the premises.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1.   The Joint Stipulation For Dismissal With Prejudice (DE

  24) filed herein by the Plaintiff, Frank Manfred, and Defendant,

  Pollack & Rosen, P.A., be and the same is hereby approved, adopted

  and ratified by the Court;

        2.   The   above-styled    cause   be   and   the   same   is   hereby

  DISMISSED with prejudice, each party to bear its own attorney’s

  fees and costs; and
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        3.   To the extent not otherwise disposed of herein, all

  pending Motions are hereby DENIED as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this        28th          day of December, 2011.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

  Copies furnished:
  All Counsel of Record




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